Case 2:19-cv-08385-JAK-AFM Document 29 Filed 04/28/21 Page 1 of 1 Page ID #:190



   1

   2

   3

   4

   5

   6

   7                         UNITED STATES DISTRICT COURT
   8                        CENTRAL DISTRICT OF CALIFORNIA
   9

 10     ANDREW H. KRAMER,                        Case No. 2:19-cv-08385-JAK-AFM
 11                          Plaintiff,
                                                 ORDER ACCEPTING FINDINGS
 12            v.                                AND RECOMMENDATIONS OF
 13                                              UNITED STATES MAGISTRATE
        ALEX VILLANUEVA, et al.,                 JUDGE
 14
                             Defendants.
 15

 16           Pursuant to 28 U.S.C. § 636, the Court has reviewed the Report and
 17    Recommendation of United States Magistrate Judge. The time for filing Objections
 18    to the Report and Recommendation has passed and no Objections have been received.
 19    The Court accepts and adopts the Magistrate Judge’s Report and Recommendation.
 20           IT THEREFORE IS ORDERED that Judgment be entered dismissing the
 21    Fourth Amended Complaint without further leave to amend and with prejudice for
 22    failure to state a claim.
 23    DATED: $SULO
 24

 25                                         ____________________________________
                                                    JOHN A. KRONSTADT
 26                                           UNITED STATES DISTRICT JUDGE
 27

 28
